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                                81,7('67$7(6%$1.5837&<&2857
                                ($67(51',675,&72)3(116</9$1,$

,QUH                                            &DVH1R       17-12695AMC-AMC
Victor and Stacey Masella
                                                   &KDSWHU        

                  'HEWRUV
                                          &KDSWHU3ODQ


          ✔ Second              AMENDED
'DWH      02/06/2018

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                                   <2855,*+76:,//%($))(&7('

<RXVKRXOGKDYHUHFHLYHGIURPWKHFRXUWDVHSDUDWH1RWLFHRIWKH+HDULQJRQ&RQILUPDWLRQRI3ODQZKLFK
FRQWDLQVWKHGDWHRIWKHFRQILUPDWLRQKHDULQJRQWKH3ODQSURSRVHGE\WKH'HEWRU7KLVGRFXPHQWLVWKH
DFWXDO3ODQSURSRVHGE\WKH'HEWRUWRDGMXVWGHEWV<RXVKRXOGUHDGWKHVHSDSHUVFDUHIXOO\DQGGLVFXVV
WKHPZLWK\RXUDWWRUQH\$1<21(:+2:,6+(67223326($1<3529,6,212)7+,63/$1
0867),/($:5,77(12%-(&7,21LQDFFRUGDQFHZLWK%DQNUXSWF\5XOHDQG/RFDO5XOH
7KLV3ODQPD\EHFRQILUPHGDQGEHFRPHELQGLQJXQOHVVDZULWWHQREMHFWLRQLVILOHG

                   ,125'(5725(&(,9($',675,%87,2181'(57+(3/$1<28
                  0867),/($3522)2)&/$,0%<7+('($'/,1(67$7(',17+(
                               127,&(2)0((7,1*2)&5(',7256

  3DUW%DQNUXSWF\5XOH'LVFORVXUHV

      3ODQFRQWDLQVQRQVWDQGDUGRUDGGLWLRQDOSURYLVLRQV±VHH3DUW
      3ODQOLPLWVWKHDPRXQWRIVHFXUHGFODLPVEDVHGRQYDOXHRIFROODWHUDO
      3ODQDYRLGVDVHFXULW\LQWHUHVWRUOLHQ

  3DUW3D\PHQWDQG/HQJWKRI3ODQ


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             7RWDO%DVH$PRXQWWREHSDLGWRWKH&KDSWHU7UXVWHH³7UXVWHH´BBBBBBBBBBBBBB
                                                                                  0.00
     'HEWRUVKDOOSD\WKH7UXVWHHBBBBBBBBBSHUPRQWKIRUBBBBPRQWKVDQG
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     2WKHUFKDQJHVLQWKHVFKHGXOHGSODQSD\PHQWDUHVHWIRUWKLQG

           D$PHQGHG3ODQ
             7RWDO%DVH$PRXQWWREHSDLGWRWKH&KDSWHU7UXVWHH³7UXVWHH´BBBBBBBBBBBBBB
                                                                                    101,158.00
  7KH3ODQSD\PHQWVE\'HEWRUVKDOOFRQVLVWVRIWKHWRWDODPRXQWSUHYLRXVO\SDLGBBBBBBB
                                                                                           6,400.00
  DGGHGWRWKHQHZPRQWKO\3ODQSD\PHQWVLQWKHDPRXQWRIBBBBBBBBBEHJLQQLQJBBBBBBBBBBBB
                                                                  1,858.00             2/18/18
  GDWHIRUBBBBBPRQWKV
               51
       2WKHUFKDQJHVLQWKHVFKHGXOHGSODQSD\PHQWVDUHVHWIRUWKLQG
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       E'HEWRUVKDOOPDNHSODQSD\PHQWVWRWKH7UXVWHHIURPWKHIROORZLQJVRXUFHVLQDGGLWLRQWR
 IXWXUHZDJHV'HVFULEHVRXUFHDPRXQWDQGGDWHZKHQIXQGVDUHDYDLODEOHLINQRZQ


       F8VHRIUHDOSURSHUW\WRVDWLVI\SODQREOLJDWLRQV
              6DOHRIUHDOSURSHUW\
              6HHFEHORZIRUGHWDLOHGGHVFULSWLRQ

               /RDQPRGLILFDWLRQZLWKUHVSHFWWRPRUWJDJHHQFXPEHULQJSURSHUW\
               6HHGEHORZIRUGHWDLOHGGHVFULSWLRQ

       G2WKHULQIRUPDWLRQWKDWPD\EHLPSRUWDQWUHODWLQJWRWKHSD\PHQWDQGOHQJWKRI3ODQ



 3DUW3ULRULW\&ODLPV,QFOXGLQJ$GPLQLVWUDWLYH([SHQVHV	'HEWRU¶V&RXQVHO)HHV


      D([FHSWDVSURYLGHGLQEEHORZDOODOORZHGSULRULW\FODLPVZLOOEHSDLGLQIXOO
 XQOHVVWKHFUHGLWRUDJUHHVRWKHUZLVH

  &UHGLWRU                              7\SHRI3ULRULW\                       (VWLPDWHG$PRXQWWREH3DLG

 Cibik & Cataldo, PC                     507(a)(2) administrative expenses      $ 5,500.00

 Santander                                Adequate Protection                   $ 158.00




     E'RPHVWLF6XSSRUWREOLJDWLRQVDVVLJQHGRURZHGWRDJRYHUQPHQWDOXQLWDQGSDLG
 OHVVWKDQIXOODPRXQW

     ✔ 1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIEQHHGQRWEHFRPSOHWHG

     7KHDOORZHGSULRULW\FODLPVOLVWHGEHORZDUHEDVHGRQDGRPHVWLFVXSSRUWREOLJDWLRQWKDWKDVEHHQ
  DVVLJQHGWRRULVRZHGWRDJRYHUQPHQWDOXQLWDQGZLOOEHSDLGOHVVWKDQWKHIXOODPRXQWRIWKHFODLPThis plan
  provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


   1DPHRI&UHGLWRU                                         $PRXQWRIFODLPWREHSDLG
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 3DUW6HFXUHG&ODLPV


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        1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIDQHHGQRWEHFRPSOHWHG
      7KH7UXVWHHVKDOOGLVWULEXWHDQDPRXQWVXIILFLHQWWRSD\DOORZHGFODLPVIRUSUHSHWLWLRQDUUHDUDJHVDQG'HEWRU
      VKDOOSD\GLUHFWO\WRFUHGLWRUPRQWKO\REOLJDWLRQVIDOOLQJGXHDIWHUWKHEDQNUXSWF\ILOLQJ

   &UHGLWRU         'HVFULSWLRQRI           5HJXODU0RQWKO\ (VWLPDWHG            ,QWHUHVW5DWH    $PRXQWWREH
                     6HFXUHG                  3D\PHQWWREH    $UUHDUDJH           RQ$UUHDUDJH 3DLGWR
                     3URSHUW\DQG             SDLGGLUHFWO\WR                      LIDSSOLFDEOH &UHGLWRUE\
                     $GGUHVVLIUHDO         FUHGLWRUE\                                             WKH7UXVWHH
                     SURSHUW\                 'HEWRU
   Santander        car                       n/a                $ 17,767.79          6.0               $ 20,609.40
   Wells Fargo, Now residence                 regular monthly    $ 62,218.94                            $ 62,218.94




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 &RQILUPDWLRQ'HWHUPLQDWLRQRIWKH$PRXQW([WHQWRU9DOLGLW\RIWKH&ODLP
      1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIEQHHGQRWEHFRPSOHWHG
         $OORZHGVHFXUHGFODLPVOLVWHGEHORZVKDOOEHSDLGLQIXOODQGWKHLUOLHQVUHWDLQHGXQWLOFRPSOHWLRQRI
 SD\PHQWVXQGHUWKHSODQ

             ,IQHFHVVDU\DPRWLRQREMHFWLRQDQGRUDGYHUVDU\SURFHHGLQJDVDSSURSULDWHZLOOEHILOHGWR
 GHWHUPLQHWKHDPRXQWH[WHQWRUYDOLGLW\RIWKHDOORZHGVHFXUHGFODLPDQGWKHFRXUWZLOOPDNHLWVGHWHUPLQDWLRQ
 SULRUWRWKHFRQILUPDWLRQKHDULQJ

          $Q\DPRXQWVGHWHUPLQHGWREHDOORZHGXQVHFXUHGFODLPVZLOOEHWUHDWHGHLWKHU$DVDJHQHUDO
 XQVHFXUHGFODLPXQGHU3DUWRIWKH3ODQRU%DVDSULRULW\FODLPXQGHU3DUWDVGHWHUPLQHGE\WKHFRXUW

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  D%LLZLOOEHSDLGDWWKHUDWHDQGLQWKHDPRXQWOLVWHGEHORZ,IWKHFODLPDQWLQFOXGHGDGLIIHUHQW
 LQWHUHVWUDWHRUDPRXQWIRU³SUHVHQWYDOXH´LQWHUHVWLQLWVSURRIRIFODLPWKHFRXUWZLOOGHWHUPLQHWKHSUHVHQWYDOXH
 LQWHUHVWUDWHDQGDPRXQWDWWKHFRQILUPDWLRQKHDULQJ

          8SRQFRPSOHWLRQRIWKH3ODQSD\PHQWVPDGHXQGHUWKLVVHFWLRQVDWLVI\WKHDOORZHG
 VHFXUHGFODLPDQGUHOHDVHWKHFRUUHVSRQGLQJOLHQ

                           'HVFULSWLRQRI
  1DPHRI&UHGLWRU        6HFXUHG3URSHUW\          $OORZHG           3UHVHQW    'ROODU$PRXQW      7RWDO
                           DQG$GGUHVVLIUHDO      6HFXUHG           9DOXH      RI3UHVHQW         $PRXQWWR
                           SURSHUW\                  &ODLP             ,QWHUHVW   9DOXH,QWHUHVW     EHSDLG
                                                                         5DWH
  City of Phila             residence                 $ 3,087.70                                          $ 3,087.70
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         ✔1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIFQHHGQRWEHFRPSOHWHG


      7KHFODLPVEHORZZHUHHLWKHULQFXUUHGZLWKLQGD\VEHIRUHWKHSHWLWLRQGDWHDQGVHFXUHGE\D
   SXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDPRWRUYHKLFOHDFTXLUHGIRUWKHSHUVRQDOXVHRIWKHGHEWRUVRU
   LQFXUUHGZLWKLQ\HDURIWKHSHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDQ\RWKHUWKLQJ
   RIYDOXH

           7KHDOORZHGVHFXUHGFODLPVOLVWHGEHORZVKDOOEHSDLGLQIXOODQGWKHLUOLHQVUHWDLQHGXQWLOFRPSOHWLRQ
   RISD\PHQWVXQGHUWKHSODQ

             ,QDGGLWLRQWRSD\PHQWRIWKHDOORZHGVHFXUHGFODLP³SUHVHQWYDOXH´LQWHUHVWSXUVXDQWWR86&
    D%LLZLOOEHSDLGDWWKHUDWHDQGLQWKHDPRXQWOLVWHGEHORZ,IWKHFODLPDQWLQFOXGHGDGLIIHUHQW
   LQWHUHVWUDWHRUDPRXQWIRU³SUHVHQWYDOXH´LQWHUHVWLQLWVSURRIRIFODLPWKHFRXUWZLOOGHWHUPLQHWKHSUHVHQWYDOXH
   LQWHUHVWUDWHDQGDPRXQWDWWKHFRQILUPDWLRQKHDULQJ

   1DPHRI&UHGLWRU             &ROODWHUDO         $PRXQWRI           3UHVHQW9DOXH        (VWLPDWHGWRWDOSD\PHQWV
                                                     &ODLP        ,QWHUHVW

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         ✔1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIGQHHGQRWEHFRPSOHWHG

               'HEWRUHOHFWVWRVXUUHQGHUWKHVHFXUHGSURSHUW\OLVWHGEHORZWKDWVHFXUHVWKHFUHGLWRU¶VFODLP

               7KHDXWRPDWLFVWD\XQGHU86&DZLWKUHVSHFWWRWKHVHFXUHGSURSHUW\WHUPLQDWHVXSRQ
 FRQILUPDWLRQ
         RIWKH3ODQ

               7KH7UXVWHHVKDOOPDNHQRSD\PHQWVWRWKHFUHGLWRUVOLVWHGEHORZRQWKHLUVHFXUHGFODLPV

  &UHGLWRU                                                          6HFXUHG3URSHUW\




  3DUW8QVHFXUHG&ODLPV
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         ✔1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIDQHHGQRWEHFRPSOHWHG

                               %DVLVIRU6HSDUDWH
  &UHGLWRU                    &ODVVLILFDWLRQ             7UHDWPHQW                        $PRXQWRI        $PRXQWWR
                                                                                             &ODLP            EHSDLG
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         E$OO2WKHU7LPHO\)LOHG$OORZHG*HQHUDO8QVHFXUHG&ODLPV

             /LTXLGDWLRQ7HVW(check one box)

              ✔ $OO'HEWRUVSURSHUW\LVFODLPHGDVH[HPSW

                       'HEWRUVKDVQRQH[HPSWSURSHUW\YDOXHGDW               IRUSXUSRVHVRID


               )XQGLQJEFODLPVWREHSDLGDVIROORZV(check one box)

              ✔
                      3URUDWD
                      
                      2WKHU'HVFULEH


  3DUW([HFXWRU\&RQWUDFWV	8QH[SLUHG/HDVHV
 

        ✔1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIQHHGQRWEHFRPSOHWHG

  &UHGLWRU                                1DWXUHRI&RQWUDFWRU/HDVH    7UHDWPHQWE\'HEWRU3XUVXDQWWRE




  3DUW2WKHU3URYLVLRQV


         D*HQHUDO3ULQFLSOHV$SSOLFDEOHWR7KH3ODQ

         9HVWLQJRI3URSHUW\RIWKH(VWDWH(check one box)
                  ✔
                      8SRQFRQILUPDWLRQ
                      8SRQGLVFKDUJH

        8QOHVVRWKHUZLVHRUGHUHGE\WKHFRXUWWKHDPRXQWRIDFUHGLWRU¶VFODLPOLVWHGLQLWVSURRIRIFODLP
 FRQWUROVRYHUDQ\FRQWUDU\DPRXQWVOLVWHGLQ3DUWVRURIWKH3ODQ

         3RVWSHWLWLRQFRQWUDFWXDOSD\PHQWVXQGHUEDQGDGHTXDWHSURWHFWLRQSD\PHQWVXQGHU
 D%&VKDOOEHGLVEXUVHGWRWKHFUHGLWRUVE\WKH'HEWRUGLUHFWO\$OORWKHUGLVEXUVHPHQWVWR
 FUHGLWRUVVKDOOEHPDGHE\WKH7UXVWHH

         ,I'HEWRULVVXFFHVVIXOLQREWDLQLQJDUHFRYHU\LQDSHUVRQDOLQMXU\RURWKHUOLWLJDWLRQLQZKLFK'HEWRULV
 WKHSODLQWLIIEHIRUHWKHFRPSOHWLRQRISODQSD\PHQWVDQ\VXFKUHFRYHU\LQH[FHVVRIDQ\DSSOLFDEOHH[HPSWLRQZLOO
 EHSDLGWRWKH7UXVWHHDVDVSHFLDO3ODQSD\PHQWWRWKHH[WHQWQHFHVVDU\WRSD\SULRULW\DQGJHQHUDOXQVHFXUHG
 FUHGLWRUVRUDVDJUHHGE\WKH'HEWRUDQGWKH7UXVWHHDQGDSSURYHGE\WKHFRXUW
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        E$IILUPDWLYH'XWLHVRQ+ROGHUVRI&ODLPVVHFXUHGE\D6HFXULW\,QWHUHVWLQ'HEWRU¶V
 3ULQFLSDO5HVLGHQFH

          $SSO\WKHSD\PHQWVUHFHLYHGIURPWKH7UXVWHHRQWKHSUHSHWLWLRQDUUHDUDJHLIDQ\RQO\WRVXFK
 DUUHDUDJH

           $SSO\WKHSRVWSHWLWLRQPRQWKO\PRUWJDJHSD\PHQWVPDGHE\WKH'HEWRUWRWKHSRVWSHWLWLRQPRUWJDJH
 REOLJDWLRQVDVSURYLGHGIRUE\WKHWHUPVRIWKHXQGHUO\LQJPRUWJDJHQRWH

          7UHDWWKHSUHSHWLWLRQDUUHDUDJHDVFRQWUDFWXDOO\FXUUHQWXSRQFRQILUPDWLRQIRUWKH3ODQIRUWKHVROH
 SXUSRVHRISUHFOXGLQJWKHLPSRVLWLRQRIODWHSD\PHQWFKDUJHVRURWKHUGHIDXOWUHODWHGIHHVDQGVHUYLFHVEDVHGRQ
 WKHSUHSHWLWLRQGHIDXOWRUGHIDXOWV/DWHFKDUJHVPD\EHDVVHVVHGRQSRVWSHWLWLRQSD\PHQWVDVSURYLGHGE\WKH
 WHUPVRIWKHPRUWJDJHDQGQRWH

          ,IDVHFXUHGFUHGLWRUZLWKDVHFXULW\LQWHUHVWLQWKH'HEWRU¶VSURSHUW\VHQWUHJXODUVWDWHPHQWVWRWKH
 'HEWRUSUHSHWLWLRQDQGWKH'HEWRUSURYLGHVIRUSD\PHQWVRIWKDWFODLPGLUHFWO\WRWKHFUHGLWRULQWKH3ODQWKH
 KROGHURIWKHFODLPVVKDOOUHVXPHVHQGLQJFXVWRPDU\PRQWKO\VWDWHPHQWV

          ,IDVHFXUHGFUHGLWRUZLWKDVHFXULW\LQWHUHVWLQWKH'HEWRU¶VSURSHUW\SURYLGHGWKH'HEWRUZLWKFRXSRQ
 ERRNVIRUSD\PHQWVSULRUWRWKHILOLQJRIWKHSHWLWLRQXSRQUHTXHVWWKHFUHGLWRUVKDOOIRUZDUGSRVWSHWLWLRQFRXSRQ
 ERRNVWRWKH'HEWRUDIWHUWKLVFDVHKDVEHHQILOHG

         'HEWRUZDLYHVDQ\YLRODWLRQRIVWD\FODLPDULVLQJIURPWKHVHQGLQJRIVWDWHPHQWVDQGFRXSRQ
 ERRNVDVVHWIRUWKDERYH

         F6DOHRI5HDO3URSHUW\
        ✔ 1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIFQHHGQRWEHFRPSOHWHG

                &ORVLQJIRUWKHVDOHRI                            WKH³5HDO3URSHUW\´VKDOOEHFRPSOHWHG
  ZLWKLQPRQWKVRIWKHFRPPHQFHPHQWRIWKLVEDQNUXSWF\FDVHWKH³6DOH'HDGOLQH´8QOHVVRWKHUZLVH
   DJUHHGE\WKHSDUWLHVRUSURYLGHGE\WKH&RXUWHDFKDOORZHGFODLPVHFXUHGE\WKH5HDO3URSHUW\ZLOOEHSDLGLQIXOO
 
 XQGHUERIWKH3ODQDWWKHFORVLQJ³&ORVLQJ'DWH´
     

           7KH5HDO3URSHUW\ZLOOEHPDUNHWHGIRUVDOHLQWKHIROORZLQJPDQQHUDQGRQWKHIROORZLQJWHUPV




           &RQILUPDWLRQRIWKLV3ODQVKDOOFRQVWLWXWHDQRUGHUDXWKRUL]LQJWKH'HEWRUWRSD\DWVHWWOHPHQWDOO
 FXVWRPDU\FORVLQJH[SHQVHVDQGDOOOLHQVDQGHQFXPEUDQFHVLQFOXGLQJDOOEFODLPVDVPD\EHQHFHVVDU\WR
 FRQYH\JRRGDQGPDUNHWDEOHWLWOHWRWKHSXUFKDVHU+RZHYHUQRWKLQJLQWKLV3ODQVKDOOSUHFOXGHWKH'HEWRUIURP
 VHHNLQJFRXUWDSSURYDORIWKHVDOHRIWKHSURSHUW\IUHHDQGFOHDURIOLHQVDQGHQFXPEUDQFHVSXUVXDQWWR86&
 IHLWKHUSULRUWRRUDIWHUFRQILUPDWLRQRIWKH3ODQLILQWKH'HEWRU¶VMXGJPHQWVXFKDSSURYDOLVQHFHVVDU\RU
 LQRUGHUWRFRQYH\LQVXUDEOHWLWOHRULVRWKHUZLVHUHDVRQDEO\QHFHVVDU\XQGHUWKHFLUFXPVWDQFHVWRLPSOHPHQWWKLV
 3ODQ

         'HEWRUVKDOOSURYLGHWKH7UXVWHHZLWKDFRS\RIWKHFORVLQJVHWWOHPHQWVKHHWZLWKLQKRXUVRIWKH
 &ORVLQJ'DWH

         ,QWKHHYHQWWKDWDVDOHRIWKH5HDO3URSHUW\KDVQRWEHHQFRQVXPPDWHGE\WKHH[SLUDWLRQRIWKH6DOH
 'HDGOLQH




                                                                                            &RQWLQXDWLRQVKHHWDWWDFKHG
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          G/RDQ0RGLILFDWLRQ
         ✔1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIGQHHGQRWEHFRPSOHWHG


   'HEWRUVKDOOSXUVXHDORDQPRGLILFDWLRQGLUHFWO\ZLWKRULWVVXFFHVVRULQLQWHUHVWRULWV
 FXUUHQWVHUYLFHU³0RUWJDJH/HQGHU´LQDQHIIRUWWREULQJWKHORDQFXUUHQWDQGUHVROYHWKHVHFXUHGDUUHDUDJHFODLP

        'XULQJWKHPRGLILFDWLRQDSSOLFDWLRQSURFHVV'HEWRUVKDOOPDNHDGHTXDWHSURWHFWLRQSD\PHQWVGLUHFWO\WR
 0RUWJDJH/HQGHULQWKHDPRXQWRISHUPRQWKZKLFKUHSUHVHQWVdescribe
 basis of adequate protection payment'HEWRUVKDOOUHPLWWKHDGHTXDWHSURWHFWLRQSD\PHQWVGLUHFWO\WRWKH
 0RUWJDJH/HQGHU

 ,IWKHPRGLILFDWLRQLVQRWDSSURYHGE\ GDWH'HEWRUVKDOOHLWKHU$ILOHDQDPHQGHG3ODQWR
 RWKHUZLVHSURYLGHIRUWKHDOORZHGFODLPRIWKH0RUWJDJH/HQGHURU%0RUWJDJH/HQGHUPD\VHHNUHOLHIIURPWKH
 DXWRPDWLFVWD\ZLWKUHJDUGWRWKHFROODWHUDODQG'HEWRUZLOOQRWRSSRVHLW

 3DUW2UGHURI'LVWULEXWLRQ


 7KHRUGHURIGLVWULEXWLRQRI3ODQSD\PHQWVZLOOEHDVIROORZV

       /HYHO7UXVWHH&RPPLVVLRQV
       /HYHO'RPHVWLF6XSSRUW2EOLJDWLRQV
       /HYHO$GHTXDWH3URWHFWLRQ3D\PHQWV
       /HYHO'HEWRU¶VDWWRUQH\¶VIHHV
       /HYHO3ULRULW\FODLPVSURUDWD
       /HYHO6HFXUHGFODLPVSURUDWD
       /HYHO6SHFLDOO\FODVVLILHGXQVHFXUHGFODLPV
       /HYHO*HQHUDOXQVHFXUHGFODLPV
       /HYHO8QWLPHO\ILOHGDOORZHGJHQHUDOXQVHFXUHGFODLPV

 Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
 not to exceed ten (10) percent.



  3DUW1RQ6WDQGDUGRU$GGLWLRQDO3ODQ3URYLVLRQV
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   ✔1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIQHHGQRWEHFRPSOHWHG                     $GG1RQVWDQGDUGSURYLVLRQV




                                                                                 &RQWLQXDWLRQVKHHWDWWDFKHG
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 8QGHU%DQNUXSWF\5XOHFQRQVWDQGDUGRUDGGLWLRQDOSODQSURYLVLRQVDUHUHTXLUHGWREHVHWIRUWKLQ3DUW
 RIWKH3ODQ6XFK3ODQSURYLVLRQVZLOOEHHIIHFWLYHRQO\LIWKHDSSOLFDEOHER[LQ3DUWRIWKLV3ODQLVFKHFNHG
 $Q\QRQVWDQGDUGRUDGGLWLRQDOSURYLVLRQVVHWRXWRWKHUWKDQLQ3DUWRIWKH3ODQDUH92,'%\VLJQLQJEHORZ
 DWWRUQH\IRU'HEWRUVRUXQUHSUHVHQWHG'HEWRUVFHUWLILHVWKDWWKLV3ODQFRQWDLQVQRQRQVWDQGDUGRUDGGLWLRQDO
 SURYLVLRQVRWKHUWKDQWKRVHLQ3DUWRIWKH3ODQ




                                                                 s/ Michael A. Cataldo
         02/06/2018
 'DWH
                                                               $WWRUQH\IRU'HEWRUV




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 'DWH
                                                               'HEWRU


 'DWH
                                                               -RLQW'HEWRU
